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 5   Attorneys for Defendant
     Mortgage Lenders of America, LLC
 6

 7
                                     UNITED STATES DISTRICT COURT
 8
                                  NORTHERN DISTRICT OF CALIFORNIA
 9
                                             OAKLAND DIVISION
10
     ALFREDO LEON OREA,                                      Case No. 4:13-cv-03913-PJH
11
                                      Plaintiff,             NOTICE OF SETTLEMENT AND
12                                                           REQUEST TO CONTINUE
               v.                                            CURRENTLY SCHEDULED DATES
13
     MORTGAGE LENDERS OF AMERICA,                            Judge: Hon. Phyllis J. Hamilton
14   LLC,
15                                    Defendant.
16
               COMES NOW Defendant Mortgage Lenders of America, L.L.C., by and through its
17
     counsel of record, and hereby provides notice to the Court that the parties have reached an
18
     agreement to settle the entire case.
19
               The currently scheduled dates in this case are as follows:
20
               10/29/2013 – Last day to meet and confer; Parties to file ADR certification signed by
21
                              parties and counsel; Parties to file Stipulation to ADR Process or Notice of
22
                              Need for ADR Phone Conference
23
               11/14/2013 – Last day to file Joint Case Management Statement
24
               11/21/2013 – Initial Case Management Conference
25
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28

             NOTICE OF SETTLEMENT AND REQUEST TO CONTINUE CURRENTLY SCHEDULED DATES
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       Case 4:13-cv-03913-PJH Document 12 Filed 10/29/13 Page 2 of 2



 1   Given the parties’ settlement of this case, the parties respectfully request that the Court continue

 2   these dates to allow the parties time to prepare and execute a release, exchange the settlement

 3   payment, and prepare and file a stipulation of dismissal.

 4

 5   Dated:       October 29, 2013                          POLSINELLI LLP
 6

 7                                                   By:    /s/ Michael P. Cutler
                                                            Michael P. Cutler (State Bar No. 270663)
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            NOTICE OF SETTLEMENT AND REQUEST TO CONTINUE CURRENTLY SCHEDULED DATES
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